









Dismissed and Memorandum Opinion filed November 10, 2005









Dismissed and Memorandum Opinion filed November 10,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00880-CR

____________

&nbsp;

ROGELIO CRUZ,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
228th District Court

Harris County,
Texas

Trial Court Cause No. 991,787

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to sexual assault of a
child.&nbsp; In accordance with the terms of a
plea bargain agreement with the State, the trial court sentenced appellant on
July 20, 2005, to confinement for two years in the Institutional Division of
the Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed November 10, 2005.

Panel consists of Chief Justice
Hedges and Justices Yates and Anderson. 

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





